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                           UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF MICHIGAN
                                SOUTHERN DIVISION

  JODI VANLERBERGHE, individually and                  Case No. 1:23-cv-00739
  on behalf of all others similarly situated,
                                                       CLASS ACTION COMPLAINT
                 Plaintiff,
                                                       DEMAND FOR JURY TRIAL
  v.

  SIR HOME IMPROVEMENT INC. a
  Michigan corporation,

                 Defendant.


                                CLASS ACTION COMPLAINT

       Plaintiff Jodi Vanlerberghe (“Plaintiff Vanlerberghe” or “Vanlerberghe”) brings this Class

Action Complaint and Demand for Jury Trial against Defendant SIR Home Improvement Inc.

(“Defendant” or “SIR Home Improvement”) to stop the Defendant from violating the Telephone

Consumer Protection Act (“TCPA”) by making telemarketing calls to consumers without consent,

including calls to phone numbers that are registered on the National Do Not Call registry (“DNC”)

and to consumers who have expressly requested that the calls stop. Plaintiff also seeks injunctive

and monetary relief for all persons injured by Defendant’s conduct. Plaintiff Vanlerberghe, for this

Complaint, alleges as follows upon personal knowledge as to herself and her own acts and

experiences, and, as to all other matters, upon information and belief, including investigation

conducted by her attorneys.

                                            PARTIES

       1.      Plaintiff Vanlerberghe is a resident of Richland, Michigan.




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        2.      Defendant SIR Home Improvement is a corporation registered in Michigan, with

its headquarters located in Portage, Michigan. Defendant SIR Home Improvement conducts

business throughout this District.

                                 JURISDICTION AND VENUE

        3.      This Court has federal question subject matter jurisdiction over this action under 28

U.S.C. § 1331, as the action arises under the Telephone Consumer Protection Act, 47 U.S.C. §227

(“TCPA”).

        4.      This Court has personal jurisdiction and venue is proper since Defendant has its

headquarters in this District and the wrongful conduct giving rise to this case was directed from

and into this District.

                                        INTRODUCTION

        5.      As the Supreme Court recently explained: “Americans passionately disagree about

many things. But they are largely united in their disdain for robocalls. The Federal Government

receives a staggering number of complaints about robocalls—3.7 million complaints in 2019

alone. The States likewise field a constant barrage of complaints. For nearly 30 years, the people’s

representatives in Congress have been fighting back.” Barr v. Am. Ass’n of Political Consultants,

1040 S. Ct. 2335, 2343 (2020).

        6.      When Congress enacted the TCPA in 1991, it found that telemarketers called more

than 18 million Americans every day. 105 Stat. 2394 at § 2(3).

        7.      By 2003, due to more powerful autodialing technology, telemarketers were calling

104 million Americans every day. In re Rules and Regulations Implementing the TCPA of 1991,

18 FCC Rcd. 14014, ¶¶ 2, 8 (2003).




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        8.       The problems Congress identified when it enacted the TCPA have grown

exponentially in recent years.

        9.       According to online robocall tracking service “YouMail,” 5.1 billion robocalls were

placed in May 2023 alone, at a rate of 164.0 million per day. www.robocallindex.com (last visited

July 3, 2023).

        10.      The FCC also has received an increasing number of complaints about unwanted

calls, with 150,000 complaints in 2016, 185,000 complaints in 2017, and 232,000 complaints in

2018. FCC, Consumer Complaint Data Center, www.fcc.gov/consumer-help-center-data.

        11.      “Robocalls and telemarketing calls are currently the number one source of

consumer complaints at the FCC.” Tom Wheeler, Cutting off Robocalls (July 22, 2016), statement

of FCC chairman.1

        12.      “The FTC receives more complains about unwanted calls than all other complaints

combined.” Staff of the Federal Trade Commission’s Bureau of Consumer Protection, In re Rules

and Regulations Implementing the Telephone Consumer Protection Act of 1991, Notice of

Proposed Rulemaking, CG Docket No. 02-278, at 2 (2016).2

                                   COMMON ALLEGATIONS

        13.      SIR Home Improvement provides home improvement services to consumers in

Southwest Michigan and Northern Indiana, including bathroom remodeling and window sales.3

        14.      SIR Home Improvement places solicitation calls to consumers to solicit its home

improvement services and products.



1
  https://www.fcc.gov/news-events/blog/2016/07/22/cutting-robocalls
2
  https://www.ftc.gov/system/files/documents/advocacy_documents/comment-staff-ftc-
bureau-consumer-protection-federal-communications-commission-rules-regulations/
160616robocallscomment.pdf
3
  https://www.linkedin.com/company/sir-home-improvement/about/

                                                  3
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        15.       Unfortunately, some of these calls made by SIR Home Improvement are being

placed to consumers without consent, including to consumers that registered their phone numbers

on the DNC, as per Plaintiff’s experience.

        16.       To make matters worse, SIR Home Improvement lacks a sufficient opt-out system

to ensure that a consumer who notifies SIR Home Improvement to stop calling them will be

removed from their calling list.

        17.       Many consumers have complained online about receiving unsolicited telemarketing

calls from SIR Home Improvement, including from consumers who asked for the calls to stop, but

who continue to receive calls, including:

              •   “I did not use them, and frankly will never, so I can not attest to the quality of work.
                  I have however been spammed multiple times, after asking to be taken off of the
                  call list. They do not remove you from the call list even after talking with the
                  ‘manager’”4 (emphasis added)
              •   “Constantly calling, even after I asked to be removed from their call list and they
                  said it wouldn’t be a problem. Then when I do answer the call, they hang up on
                  me!!!”5 (emphasis added)
              •   “I've told this company 3 times to stop calling my elderly parents as one of my
                  parents has dementia. I called my mom tonight & she said they called her to say
                  they was coming to their home tomorrow to give a quote for home improvement.
                  I'm so upset that I'm calling the police when they get to their home tomorrow. STOP
                  taking advantage of the elderly. I hope the two hour drive is going to be worth it. I
                  will have the police waiting. How many times can you tell these people to stop
                  calling !!! Terrible that companies are out there like this.”6 (emphasis added)
              •   “I was looking on line for a glass block replacement window. The website said click
                  here for an instant price. I did. Never got a price however the next 10 days I received
                  a phone call about every 2 hours. After about 6 calls I told them that I did not need
                  their services, they continued to call. They were so pesky I would never do
                  business with them.”7 (emphasis added)
              •   “This company is extremely annoying. They have people call me at least a couple
                  times per month asking if they can come out and do a quote on remodeling. I have


4
  https://www.google.com/search?q=sir+home+improvement
5
  Id.
6
  Id.
7
  Id.

                                                     4
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                  told them to please quit calling and yet I still receive the calls. They also use a call
                  center where they send you a text message that says you have a package waiting to
                  be delivered, so please call the number specified. When I called the number it was
                  a call center that asked me if I wanted an Amazon gift card for SIR to come out and
                  do a quote. SOUNDS LIKE SIR HOME IMPROVEMENTS IS DESPERATE FOR
                  BUSINESS!”8 (emphasis added)
              •   “SIR Home Improvement has been calling me daily for OVER A YEAR AND A
                  HALF. I spoke to them briefly about a project that they then told me they could not
                  complete for me. I have told them multiple times that I am not interested in their
                  services and that the project has been completed. They call daily. I have told them
                  multiple times that I want to be removed from their call list and am still being
                  flooded with calls.”9 (emphasis added)
              •   “This company has called me literally around 50 times in the past 2 months. I've
                  answered about 6 of those calls. They say I filled out some form that I was interested
                  in a bathroom remodel. Never did. I rent my home. Each time I've answered, I've
                  instructed them not to call me again. And yet the calls keep coming. Sometimes
                  twice a day. Stay far away from this company. If they're so willing to blatantly
                  harass people illegally, who knows what other illegal practices they employ.”10
                  (emphasis added)
              •   “Sir did awesome work but they are now harassing calling g me everyday trying to
                  get me to do more projects. I have asked them to stop calling but they refuse. They
                  just won't stop. And they don't do the work I need done.”11 (emphasis added)
              •   “Don't ever allow these people into your home. I did once by mistake, told them I
                  was not interested in their product. This was two years ago. Since then I have been
                  called by thier rep at least once a month even tho I have made it clear on several
                  occasions not to call again. They are a predatory company and will try to take
                  advantage. Customer beware. Should be zero star.”12 (emphasis added)

        18.       In response to these calls, Plaintiff Vanlerberghe brings forward this case seeking

injunctive relief requiring the Defendant to cease from violating the TCPA, as well as an award of

statutory damages to the members of the Classes and costs.




8
  Id.
9
  https://www.bbb.org/us/mi/portage/profile/replacement-windows/sir-home-improvement-inc-
0372-11000093/complaints
10
   https://www.bbb.org/us/mi/portage/profile/replacement-windows/sir-home-improvement-inc-
0372-11000093/customer-reviews
11
   Id.
12
   Id.

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                    PLAINTIFF VANLERBERGHE’S ALLEGATIONS

       19.     Plaintiff Vanlerberghe registered her cell phone number on the DNC on October

21, 2010.

       20.     Plaintiff Vanlerberghe uses her cell phone number for personal use only as one

would use a landline telephone number in a home.

       21.     The calls that Plaintiff Vanlerberghe received from Defendant SIR Home

Improvement were all received more than 31 days after Plaintiff registered her cell phone number

on the DNC.

       22.     In 2016, Plaintiff Vanlerberghe requested more information from the SIR Home

Improvement website – sirhome.com.

       23.     Plaintiff Vanlerberghe provided her cell phone number to Defendant SIR Home

Improvement.

       24.     Plaintiff Vanlerberghe received a call from a SIR Home Improvement employee to

her cell phone regarding a quote for new windows. Plaintiff decided while speaking to the

employee that she was not interested and declined the quote.

       25.     Plaintiff Vanlerberghe then received another call from SIR Home Improvement to

her cell phone regarding a quote for new windows. This time, Plaintiff told the employee that she

was not interested and asked not to be called again.

       26.     Despite Plaintiff’s stop request, which took place in 2016, she has received many

additional calls from Defendant SIR Home Improvement ever since.

       27.     In fact, SIR Home Improvement has called Plaintiff Vanlerberghe at least 12 times

each year since Plaintiff first told SIR Home Improvement to stop calling her cell phone number.




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        28.    Time and time again, Plaintiff Vanlerberghe has demanded that the unsolicited calls

stop. She has specifically asked for her phone number to be removed from SIR Home

Improvement’s contact list, but the calls have continued.

        29.    For example, on June 21, 2023 at 3:22 PM, Plaintiff Vanlerberghe received an

unsolicited telemarketing call to her cell phone from Defendant SIR Home Improvement, from

269-201-5884. This call was not answered.

        30.    On June 22, 2023 at 10:47 AM, Plaintiff received yet another unsolicited call from

Defendant SIR Home Improvement to her cell phone, from 269-201-5884. Plaintiff answered this

call.

        31.    An employee immediately began a sales pitch soliciting Defendant’s services and

products. Plaintiff Vanlerberghe interrupted the employee and demanded that SIR Home

Improvement should stop calling her cell phone and hung up.

        32.    Plaintiff Vanlerberghe has never conducted business with SIR Home Improvement.

        33.    Plaintiff Vanlerberghe revoked whatever consent Defendant SIR Home

Improvement had to call her cell phone back in 2016.

        34.    The unauthorized solicitation telephone calls that Plaintiff Vanlerberghe received

from or on behalf of Defendant SIR Home Improvement have harmed Plaintiff in the form of

annoyance, nuisance, and invasion of privacy, occupied her phone line, and disturbed the use and

enjoyment of her phone.

        35.    Seeking redress for these injuries, Plaintiff Vanlerberghe, on behalf of herself and

Classes of similarly situated individuals, brings suit under the TCPA.




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                                    CLASS ALLEGATIONS

       36.     Plaintiff Vanlerberghe brings this action pursuant to Federal Rules of Civil

Procedure 23(b)(2) and 23(b)(3) and seeks certification of the following Classes:

       Do Not Call Registry Class: All persons in the United States who from four years
       prior to the filing of this action through class certification (1) SIR Home
       Improvement called more than one time, (2) within any 12-month period, (3) where
       the person’s residential telephone number had been listed on the National Do Not
       Call Registry for at least thirty days, (4) for substantially the same reason Defendant
       called Plaintiff.

       Internal Do Not Call Class: All persons in the United States who from four years
       prior to the filing of this action through class certification (1) Defendant SIR Home
       Improvement called more than one time on their residential telephone number,
       (2) within any 12-month period (3) for substantially the same reason Defendant
       called Plaintiff, (4) including at least once after the Defendant’s records reflect the
       person requested that they stop calling.

       37.     The following individuals are excluded from the Classes: (1) any Judge or

Magistrate presiding over this action and members of their families; (2) Defendant, its subsidiaries,

parents, successors, predecessors, and any entity in which either Defendant or their parents have a

controlling interest and their current or former employees, officers and directors; (3) Plaintiff’s

attorneys; (4) persons who properly execute and file a timely request for exclusion from the

Classes; (5) the legal representatives, successors or assigns of any such excluded persons; and

(6) persons whose claims against the Defendant have been fully and finally adjudicated and/or

released. Plaintiff Vanlerberghe anticipates the need to amend the Class definition following

appropriate discovery.

       38.     Numerosity and Typicality: On information and belief, there are hundreds, if not

thousands of members of the Classes such that joinder of all members is impracticable, and

Plaintiff is a member of the Classes.




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       39.     Commonality and Predominance: There are many questions of law and fact

common to the claims of the Plaintiff and the Classes, and those questions predominate over any

questions that may affect individual members of the Classes. Common questions for the Classes

include, but are not necessarily limited to the following:

       (a)     Whether Defendant’s conduct violated the TCPA;

       (b)     Whether Defendant placed multiple calls within a 12-month period to Plaintiff and

               other consumers whose telephone numbers were registered with the DNC for at

               least 30 days of the time of each call;

       (c)     whether Defendant engaged in telemarketing without implementing adequate

               internal policies and procedures for maintaining an internal do not call list;

       (d)     whether members of the Classes are entitled to treble damages based on the

               willfulness of Defendant’s conduct.

       40.     Adequate Representation: Plaintiff Vanlerberghe will fairly and adequately

represent and protect the interests of the Classes, and has retained counsel competent and

experienced in class actions. Plaintiff Vanlerberghe has no interests antagonistic to those of the

Classes, and the Defendant has no defenses unique to Plaintiff. Plaintiff Vanlerberghe and her

counsel are committed to vigorously prosecuting this action on behalf of the members of the

Classes, and have the financial resources to do so. Neither Plaintiff Vanlerberghe nor her counsel

have any interest adverse to the Classes.

       41.     Appropriateness: This class action is also appropriate for certification because the

Defendant has acted or refused to act on grounds generally applicable to the Classes and as a

whole, thereby requiring the Court’s imposition of uniform relief to ensure compatible standards

of conduct toward the members of the Classes and making final class-wide injunctive relief




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appropriate. Defendant’s business practices apply to and affect the members of the Classes

uniformly, and Plaintiff’s challenge of those practices hinges on Defendant’s conduct with respect

to the Classes as wholes, not on facts or law applicable only to Plaintiff Vanlerberghe.

Additionally, the damages suffered by individual members of the Classes will likely be small

relative to the burden and expense of individual prosecution of the complex litigation necessitated

by Defendant’s actions. Thus, it would be virtually impossible for the members of the Classes to

obtain effective relief from Defendant’s misconduct on an individual basis. A class action provides

the benefits of single adjudication, economies of scale, and comprehensive supervision by a single

court.

                                 FIRST CLAIM FOR RELIEF
                             Telephone Consumer Protection Act
                                 (Violation of 47 U.S.C. § 227)
           (On Behalf of Plaintiff Vanlerberghe and the Do Not Call Registry Class)

         42.   Plaintiff repeats and realleges the prior paragraphs of this Complaint and

incorporates them by reference herein.

         43.   The TCPA’s implementing regulation, 47 C.F.R. § 64.1200(c), provides that “[n]o

person or entity shall initiate any telephone solicitation” to “[a] residential telephone subscriber

who has registered her or her telephone number on the national do-not-call registry of persons who

do not wish to receive telephone solicitations that is maintained by the federal government.”

         44.   Any “person who has received more than one telephone call within any 12-month

period by or on behalf of the same entity in violation of the regulations prescribed under this

subsection may” may bring a private action based on a violation of said regulations, which were

promulgated to protect telephone subscribers’ privacy rights to avoid receiving telephone

solicitations to which they object. 47 U.S.C. § 227(c).

         45.   Defendant violated 47 C.F.R. § 64.1200(c) by initiating, or causing to be initiated,



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telephone solicitations to telephone subscribers such as Plaintiff Vanlerberghe and the Do Not Call

Registry Class members who registered their respective telephone numbers on the National Do

Not Call Registry, a listing of persons who do not wish to receive telephone solicitations that is

maintained by the federal government.

       46.     Defendant violated 47 U.S.C. § 227(c)(5) because Plaintiff Vanlerberghe and the

Do Not Call Registry Class received more than one telephone call in a 12-month period made by

or on behalf of the Defendant in violation of 47 C.F.R. § 64.1200, as described above.

       47.     As a result of Defendant’s conduct as alleged herein, Plaintiff Vanlerberghe and the

Do Not Call Registry Class suffered actual damages and, under section 47 U.S.C. § 227(c), are

entitled, inter alia, to receive up to $500 in damages for such violations of 47 C.F.R. § 64.1200.

       48.     To the extent Defendant’s misconduct is determined to be willful and knowing, the

Court should, pursuant to 47 U.S.C. § 227(c)(5), treble the amount of statutory damages

recoverable by the members of the Do Not Call Registry Class.

                             SECOND CLAIM FOR RELIEF
                            Telephone Consumer Protection Act
                                (Violation of 47 U.S.C. § 227)
          (On Behalf of Plaintiff Vanlerberghe and the Internal Do Not Call Class)

       49.     Plaintiff repeats and realleges the prior paragraphs of this Complaint and

incorporates them by reference herein.

       50.     Under 47 C.F.R. § 64.1200(d):

       No person or entity shall initiate any call for telemarketing purposes to a residential
       telephone subscriber unless such person or entity has instituted procedures for
       maintaining a list of persons who request not to receive telemarketing calls made
       by or on behalf of that person or entity. The procedures instituted must meet the
       following minimum standards:
               (1) Written policy. Persons or entities making calls for telemarketing
               purposes must have a written policy, available upon demand, for
               maintaining a do-not-call list.



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              (2) Training of personnel engaged in telemarketing. Personnel engaged in
              any aspect of telemarketing must be informed and trained in the existence
              and use of the do-not-call list.

              (3) Recording, disclosure of do-not-call requests. If a person or entity
              making a call for telemarketing purposes (or on whose behalf such a call is
              made) receives a request from a residential telephone subscriber not to
              receive calls from that person or entity, the person or entity must record the
              request and place the subscriber's name, if provided, and telephone number
              on the do-not-call list at the time the request is made. Persons or entities
              making calls for telemarketing purposes (or on whose behalf such calls are
              made) must honor a residential subscriber's do-not-call request within a
              reasonable time from the date such request is made. This period may not
              exceed thirty days from the date of such request. If such requests are
              recorded or maintained by a party other than the person or entity on whose
              behalf the telemarketing call is made, the person or entity on whose behalf
              the telemarketing call is made will be liable for any failures to honor the do-
              not-call request. A person or entity making a call for telemarketing purposes
              must obtain a consumer's prior express permission to share or forward the
              consumer's request not to be called to a party other than the person or entity
              on whose behalf a telemarketing call is made or an affiliated entity.

              (4) Identification of sellers and telemarketers. A person or entity making a
              call for telemarketing purposes must provide the called party with the name
              of the individual caller, the name of the person or entity on whose behalf
              the call is being made, and a telephone number or address at which the
              person or entity may be contacted. The telephone number provided may not
              be a 900 number or any other number for which charges exceed local or
              long distance transmission charges.

              (5) Affiliated persons or entities. In the absence of a specific request by the
              subscriber to the contrary, a residential subscriber's do-not-call request shall
              apply to the particular business entity making the call (or on whose behalf
              a call is made), and will not apply to affiliated entities unless the consumer
              reasonably would expect them to be included given the identification of the
              caller and the product being advertised.

              (6) Maintenance of do-not-call lists. A person or entity making calls for
              telemarketing purposes must maintain a record of a consumer's request not
              to receive further telemarketing calls. A do-not-call request must be
              honored for 5 years from the time the request is made.

       51.    Defendant placed calls to Plaintiff and members of the Internal Do Not Call Class

without implementing internal procedures for maintaining a list of persons who request not to be

called by the entity and/or by implementing procedures that do not meet the minimum


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requirements to allow Defendant to initiate telemarketing calls/text messages.

       52.     The TCPA provides that any “person who has received more than one telephone

call within any 12-month period by or on behalf of the same entity in violation of the regulations

prescribed under this subsection may” bring a private action based on a violation of said

regulations, which were promulgated to protect telephone subscribers’ privacy rights to avoid

receiving telephone solicitations to which they object. 47 U.S.C. § 227(c)(5).

       53.     Defendant has, therefore, violated 47 U.S.C. § 227(c)(5). As a result of Defendant’s

conduct, Plaintiff and the other members of the Internal Do Not Call Class are each entitled to up

to $1,500 per violation.

                                    PRAYER FOR RELIEF

       WHEREFORE, Plaintiff, individually and on behalf of the Classes, prays for the

following relief:

         a) An order certifying this case as a class action on behalf of the Classes as defined

             above; appointing Plaintiff as the representative of the Classes; and appointing her

             attorneys as Class Counsel;

         b) An award of money damages and costs;

         c) An order declaring that Defendant’s actions, as set out above, violate the TCPA;

         d) An injunction requiring Defendant to cease all unsolicited calling activity, and to

             otherwise protect the interests of the Class; and

         e) Such further and other relief as the Court deems just and proper.

                                        JURY DEMAND

       Plaintiff Vanlerberghe requests a jury trial.




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                                     Respectfully Submitted,

                                     JODI VANLERBERGHE, individually and on
                                     behalf of all others similarly situated,


DATED this 11th day of July, 2023.
                                     By: /s/ C. Nicholas Curcio
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                                     Coral Gables, FL 33133
                                     Telephone: (305) 469-5881

                                     Attorney for Plaintiff and the putative Classes

                                     * Pro Hac Vice Admission to Be Sought




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